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IN THE UNITED STATES DISTRICT COURT a iene
IN AND FOR THE SOUTHERN DISTRICT OF FLORIDA” SUN fi
MIAMI DIVISION . mT}
CL rn. Nog
CASE NO.03-21216-CIV-LENARD/SIMONTON “be / 5200,

BAPTIST HEALTH SOUTH FLORIDA, INC.
f/k/a BAPTIST HEALTH SYSTEMS OF
SOUTH FLORIDA, INC., a Florida non
profit corporation,

Plaintiff,
vs.

SCPIE MANAGEMENT SERVICES, INC.,

a foreign profit corporation; SCPIE

INDEMNITY COMPANY, a foreign

corporation; SCPIE INSURANCE

SERVICES, INC., a foreign for profit
corporation;SCPIE MANAGEMENT

COMPANY, a foreign for profit

corporation; and AMERICAN HEALTHCARE
INDEMNITY COMPANY, a foreign profit corporation,

Defendants.
/

CERTIFICATE OF INTERESTED PERSONS
AND CORPORATE DISCLOSURE STATEMENT

Counsel for Plaintiff, hereby disclose the following pursuant to this Court’s interested
persons order:

1. The name of each person, attorney, association of persons, law firm, partnership,
and corporation that have a financial interest in the outcome of this case, including
subsidiaries, conglomerates, affiliates, parent corporations, and other identifiable
legal entities related to any party in this case:

a. Baptist Health South Florida, Inc.
b. Baptist Hospital of Miami, Inc.

C. South Miami Hospital, Inc. \\

COLE, SCOTT & KISSANE, P.A.
PACIFIC NATIONAL BANK BUILDING - 1390 BRICKELL AVENUE - THIRD FLOOR - MIAMI, FLORIDA 33131 - (305) 350-5300 - (305 )373-2294 FAX
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d. Homestead Hospital, Inc.
e. Mariners Hospital, Inc.
f. Baptist Health South Florida Foundation, Inc.

g. BHSF Real Estate Foundations, Inc.

h. Baptist Health Enterprises, Inc. d/b/a Baptist Outpatient Services

i. BMAB East Tower, Inc.

j. Kendall Credit and Business Services, Inc.

kK. West Kendall Professional Services, Inc.

I. Baptist Medical Services Corp.

m. Baptist Medical Transport Services, Inc.

n. Kendail Professional Center, Ltd. d/b/a Baptist Medical Arts Building

O. Baptist Health Ambulatory Surgical Center at Baptist, Ltd. d/b/a
Medical Arts Surgery Center.

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that a true and correct copy was served by U.S. mail this
SG, of June, 2003, to the above named addressee.

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CASE NO.:03-06863 CA 08

BAPTIST HEALTH SOUTH FLORIDA, INC. v. SCPIE MANAGEMENT SERVICES
CASE NO.03-21216-CIV-LENARD/SIMONTON
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LA2130-0055-00\P\CERTIFICATE OF INTERESTED PERSONS.wpd

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